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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 RADIO FREE ASIA,

               Plaintiff,
                                                     Case No. 1:25-cv-00907-RCL
     v.

 THE UNITED STATES OF AMERICA;
 UNITED STATES AGENCY FOR GLOBAL
 MEDIA; KARI LAKE, in her official capacity
 as Senior Advisor to the Acting CEO of the
 United States Agency for Global Media;
 VICTOR MORALES, in his official capacity
 as acting Chief Executive Officer of the
 United States Agency for Global Media;
 OFFICE OF MANAGEMENT AND
 BUDGET; RUSSELL VOUGHT, in his official
 capacity as Director of United States Office of
 Management and Budget; UNITED STATES
 DEPARTMENT OF TREASURY; and SCOTT
 BESSENT, in his official capacity as United
 States Secretary of the Treasury,

               Defendants.


 MOTION OF REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS AND
 COMMITTEE TO PROTECT JOURNALISTS FOR LEAVE TO FILE AMICI BRIEF

      Proposed amici curiae the Reporters Committee for Freedom of the Press

(“Reporters Committee”) and the Committee to Protect Journalists (together, “amici”)

respectfully move this Court under Local Civil Rule 7(o) for leave to file the attached

amici curiae brief in support of Plaintiff’s Motion for a Temporary Restraining Order

and Preliminary Injunction. The proposed brief is attached to this Motion.

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          1.   This Court “has broad discretion to permit . . . participat[ion] [of] amici

curiae,” and amicus participation is appropriate where amici have “relevant expertise

and a stated concern for the issues at stake in [the] case.” District of Columbia v.

Potomac Elec. Power Co., 826 F. Supp. 2d 227, 237 (D.D.C. 2011). This Court has

recognized that an amicus brief should “normally be allowed when . . . the amicus has

unique information or perspective that can help the court beyond the help that the

lawyers for the parties are able to provide.” Cobell v. Norton, 246 F. Supp. 2d 59, 62

(D.D.C. 2003) (quoting Ryan v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063

(7th Cir. 1997)); Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 137 (D.D.C. 2008)

(same).

       2.      Amicus the Reporters Committee is an unincorporated nonprofit

association of reporters and editors dedicated to defending the First Amendment and

newsgathering rights of the press. The Reporters Committee routinely appears as

amicus curiae in this Court and other federal courts where the federal government

takes action that inhibits newsgathering or chills the independence of the press,

including in recent challenges to the editorial independence of U.S. Agency for Global

Media networks. See, e.g., Widakuswara v. Lake, No. 1:25-cv-02390, 2025 WL 945869, at

*10 (S.D.N.Y. Mar. 28, 2025) (citing brief of proposed amici in concluding that

journalists at Voice of America faced irreparable harm if the agency was shuttered).

       3.      Amicus the Committee to Protect Journalists is an independent,


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nonprofit organization that was founded in 1981 to promote press freedom

worldwide. It defends the right of journalists to report the news without fear of

reprisal. CPJ is a global organization headquartered in New York City. CPJ’s board of

directors is composed of prominent journalists, media executives, and leaders from

related professions.

        4.     The amici brief highlights for the Court the bedrock importance of

editorial independence at Radio Free Asia (“RFA”). Congress has required the

networks to be afforded such independence, which is essential to maintaining the

reputation and safety of RFA reporters abroad.

       5.      Amici are uniquely positioned to provide the Court with information

and insight based on their experience advocating on behalf of reporters and media

outlets. The proposed amici brief provides broader context on the centrality of

editorial independence and freedom from interference by the President to RFA’s

ability to carry out its core journalistic functions.

       6.      Plaintiff consents to the filing of this amici brief. Amici contacted

counsel for the United States by email at 7:07AM on April 10, 2025, to obtain their

position on this motion but have not received a response as of this filing.

Dated: April 10, 2025                              Respectfully submitted,

                                                   /s/ Bruce D. Brown
                                                   Bruce D. Brown
                                                   (D.C. Bar No. 457317)


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